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Electronic Frontier Foundation and ACLU
Foundation of Northern California
                          UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
                                               )    Case No.: 20-mc-80214 VC
                                               )
In re DMCA Sec. 512(h) Subpoena to Twitter,    )    [PROPOSED] ORDER GRANTING
Inc.                                           )    UNOPPOSED MOTION OF
                                               )
                                               )    ELECTRONIC FRONTIER
                                               )    FOUNDATION AND ACLU
                                               )    FOUNDATION OF NORTHERN
                                               )    CALIFORNIA FOR LEAVE TO FILE
                                               )    AMICI CURIAE BRIEF
                                               )
                                               )    Hon. Vince Chhabria
                                               )
                                               )
                                               )

       Before the Court is the unopposed Motion of Amici Curiae Electronic Frontier Foundation

and the ACLU Foundation of Northern California for Leave to File Amici Curiae Brief.

       Having considered the pleadings and good cause appearing, it is hereby ORDERED
                                                 i.   i
                                            1
 20-mc-80214-VC                      [PROPOSED] ORDER
that the motion for leave to file amici curiae brief is GRANTED.

IT IS SO ORDERED.


DATED: ___________________                   ______________________________________
                                                  Hon. Vince Chhabria
                                                  United States District Judge




                                                    i.   i
                                               2
 20-mc-80214-VC                       [PROPOSED] ORDER
